                                    Case 20-14710                 Doc 76          Filed 03/05/21              Page 1 of 4
                                                              United States Bankruptcy Court
                                                                   District of Maryland
In re:                                                                                                                 Case No. 20-14710-TJC
Gold and Silver Auto Sales, LLC                                                                                        Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0416-0                                                  User: aharris                                                               Page 1 of 2
Date Rcvd: Mar 03, 2021                                               Form ID: 309D                                                             Total Noticed: 24
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.P.2002(g)(4).

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 05, 2021:
Recip ID                   Recipient Name and Address
db                     +   Gold and Silver Auto Sales, LLC, 13400 Baltimore Avenue, Suite A1, Laurel, MD 20707-9425
aty                   #+   Ingmar Goldson, The Goldson Law Office, 1734 Elton Road, Suite 210, Silver Spring, MD 20903-5718
aty                    +   John Joseph Bascietto, Bascietto & Bregman, LLC, 515 Main Street, Laurel, MD 20707-4117
sp                     +   Paul Balassa, The Law Office of Paul C. Balassa, LLC, 2138 Priest Bridge Court, Suite 1, Crofton, MD 21114-2463
cr                    #+   Theo Properties, LLC, 8109 Fe Carter Road, Laurel, MD 20724, UNITED STATES 20724-1982
31536176               +   Dealer Services, 4751 Wilshire Boulevard, Ste 205, Los Angeles, CA 90010-3860
31536177               +   G&G International, 7501 Calderon Court, Unit C, Alexandria VA 22306-2268
31536178               +   Georgi Georgiev, 7501 Calderon Court, Unit C, Alexandria VA 22306-2268
31536179               +   Pepboys, 3111 W Allegheny Avenue, Philadelphia, PA 19132-1116
31536518                   Prince George's County, Treasurer Division, Room 1090, Upper Marlboro, MD 20772
31758766               +   Prince George's County, Maryland, Office of Finance, 1301 McCormick Drive, Ste. 1100, Largo, MD 20774-5416
31536180              #+   Scott and Kaitlin McKay, and others similarly situated, The Goldson Law Office, LLC, 1734 Elton Road, Ste 210, Silver Spring, MD
                           20903-5718
31583968               +   Scott and Kaitlyn McKay, et al., 8737 Colesville Rd., Suite 308, Silver Spring, MD 20910-3921
31536514               +   Secretary of the Treasury, 15th and Pennsylvania Ave., N.W., Washington, DC 20220-0001
31536181               +   The Law Office of Paul C. Balassa, LLC, 2138 Priest Bridge Court, Suite 1, Crofton, MD 21114-2463
31536183              #+   Theo Properties, 8109 Fe Carter Road, Laurel MD 20724-1982
31536182              #+   Theo Properties, c/o Demetrios Theo, 8109 Fe Carter Road, Laurel, MD 20724-1982
31536519               +   U.S. Attorney-District of MD, 4th floor, 36 S. Charles St., Baltimore, MD 21201-3020

TOTAL: 18

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: trusteegreen@cohenbaldinger.com
                                                                                        Mar 03 2021 19:29:00      Steven H Greenfeld, Cohen, Baldinger &
                                                                                                                  Greenfeld, LLC, 2600 Tower Oaks Blvd., Suite
                                                                                                                  290, Rockville, MD 20814
tr                     + EDI: QMGWOLFF.COM
                                                                                        Mar 04 2021 00:23:00      Michael G. Wolff, Wolff & Orenstein, LLC,
                                                                                                                  15245 Shady Grove Rd., Suite 465, North Lobby,
                                                                                                                  Rockville, MD 20850-3222
31536513                   Email/Text: Bankruptcymail@marylandtaxes.gov
                                                                                        Mar 03 2021 19:30:00      Comptroller of the Treasury, Compliance Division,
                                                                                                                  Room 409, 301 W. Preston Street, Baltimore, MD
                                                                                                                  21201
31536515               + EDI: IRS.COM
                                                                                        Mar 04 2021 00:23:00      Internal Revenue Service, PO Box 7346,
                                                                                                                  Philadelphia, PA 19101-7346
31536517               + Email/Text: UIBankruptcyNotices.DLLR@maryland.gov
                                                                                        Mar 03 2021 19:32:00      State of Maryland DLLR, Division of
                                                                                                                  Unemployment Insurance, 1100 N. Eutaw Street,
                                                                                                                  Room 401, Baltimore, MD 21201-2225
31536516                   Email/Text: atlreorg@sec.gov
                                                                                        Mar 03 2021 19:31:00      Branch of Reorganization, Sec. & Exch.
                                                                                                                  Commission, 3475 Lenox Road NE (Suite 1000),
                                                                                                                  Atlanta, GA 30327-1232
                                    Case 20-14710               Doc 76         Filed 03/05/21            Page 2 of 4
District/off: 0416-0                                                User: aharris                                                         Page 2 of 2
Date Rcvd: Mar 03, 2021                                             Form ID: 309D                                                       Total Noticed: 24
TOTAL: 6


                                                      BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID           Bypass Reason Name and Address
31758767           *P++          COMPTROLLER OF MAYLAND, BANKRUPTCY UNIT, 301 W PRESTON ST ROOM 409, BALTIMORE MD 21201-2396,
                                 address filed with court:, Comptroller of the Treasury, Compliance Division, Room 409, 301 W. Preston Street, Baltimore, MD
                                 21201
31758768           *+            State of Maryland DLLR, Division of Unemployment Insurance, 1100 N. Eutaw Street, Room 401, Baltimore, MD 21201-2225

TOTAL: 0 Undeliverable, 2 Duplicate, 0 Out of date forwarding address


                                                    NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 05, 2021                                          Signature:          /s/Joseph Speetjens




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 3, 2021 at the address(es) listed
below:
Name                               Email Address
Ingmar Goldson
                                   igoldson@goldsonlawoffice.com

Janet M. Nesse
                                   jnesse@mhlawyers.com
                                   DC0N@ecfcbis.com,jmnesse@ecf.axosfs.com,jfasano@mhlawyers.com,cpalik@mhlawyers.com,tmackey@mhlawyers.com

John Joseph Bascietto
                                   johnbaslaw@gmail.com john.bascietto@aol.com,r59461@notify.bestcase.com

L. Jeanette Rice
                                   Jeanette.Rice@usdoj.gov USTPRegion04.GB.ECF@USDOJ.GOV

Michael G. Wolff
                                   trustee@wolawgroup.com mwolff@ecf.axosfs.com,dgodfrey@wolawgroup.com

Steven H Greenfeld
                                   trusteegreen@cohenbaldinger.com sgreenfeld@ecf.axosfs.com

US Trustee - Greenbelt
                                   USTPRegion04.GB.ECF@USDOJ.GOV


TOTAL: 7
                             Case 20-14710                Doc 76           Filed 03/05/21        Page 3 of 4

Information to identify the case:
Debtor
                 Gold and Silver Auto Sales, LLC                                       EIN 26−3633853
                 Name


United States Bankruptcy Court District of Maryland                                    Date case filed in chapter 11               4/28/20

Case number: 20−14710 TJC                 Chapter: 7                                   Date case converted to chapter 7           2/23/21


Official Form 309D (For Corporations or Partnerships)
Amended Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                                                                  12/15

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue,
assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment from
debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and
attorney's fees.

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in this
case. Visit http://www.mdb.uscourts.gov/ and click on Filing Without An Attorney for additional resources and
information.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                   Gold and Silver Auto Sales, LLC
2. All other names used in the dba Auto Market
   last 8 years
3. Address                              13400 Baltimore Avenue, Suite A1
                                        Laurel, MD 20707
4. Debtor's attorney                   Steven H Greenfeld                                        Contact phone (301)881−8300
   Name and address                    Cohen, Baldinger & Greenfeld, LLC                         Email: trusteegreen@cohenbaldinger.com
                                       2600 Tower Oaks Blvd.
                                       Suite 290
                                       Rockville, MD 20814

5. Bankruptcy trustee                   Michael G. Wolff                                         Contact phone (301) 250−7232
   Name and address                     Wolff & Orenstein, LLC
                                        15245 Shady Grove Rd.
                                        Suite 465, North Lobby
                                        Rockville, MD 20850
6. Bankruptcy clerk's office            Greenbelt Division                                       Hours open:
   Documents in this case may           6500 Cherrywood Lane, Ste. 300                           8:45 − 4:00 PM
   be filed at this address.            Greenbelt, MD 20770                                      Contact phone             (301) 344−8018
   You may inspect all records
   filed in this case at this office                                                             Date:                     3/3/21
                                        Clerk of the Bankruptcy Court:
   or online at www.pacer.gov.          Mark A. Neal
7. Meeting of creditors                 March 24, 2021 at 10:30 AM                       Location:
   The debtor's representative                                                           See the included UST Notice for
   must attend the meeting to be        The meeting may be continued or adjourned to a meeting participation details.
   questioned under oath.               later date. If so, the date will be on the court
   Creditors may attend, but are        docket.
   not required to do so.
                                                                                                 For more information, see page 2 >
Official Form 309D (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set          page 1
                             Case 20-14710               Doc 76        Filed 03/05/21            Page 4 of 4
Debtor Gold and Silver Auto Sales, LLC                                                                               Case number 20−14710

8. Deadlines                           Deadline for all creditors to file a proof of claim Filing deadline: 5/4/21
   The bankruptcy clerk's office       (except governmental units):
   must receive proofs of claim
   by the following deadlines.         Deadline for governmental units to file a proof Filing deadline: 8/23/21
                                       of claim:
   All claims actually filed by a      A proof of claim is a signed statement describing a creditor's claim. A Proof of Claim may be
   creditor before conversion of       filed electronically from the court's web site at
   the case are deemed filed in        http://www.mdb.uscourts.gov/content/electronic−filing−claims. A proof of claim form may be
   the Chapter 7 case.                 obtained at www.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of
   You need not re−file your           claim by the deadline, you might not be paid on your claim. To be paid, you must file a proof
   proof of claim.                     of claim even if your claim is listed in the schedules that the debtor filed.
                                       Secured creditors retain rights in their collateral regardless of whether they file a proof of
                                       claim. Filing a proof of claim submits the creditor to the jurisdiction of the bankruptcy court,
                                       with consequences a lawyer can explain. For example, a secured creditor who files a proof
                                       of claim may surrender important nonmonetary rights, including the right to a jury trial.


9. Creditors with a foreign           If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
   address                            asking the court to extend the deadlines in this notice. Consult an attorney familiar with United
                                      States bankruptcy law if you have any questions about your rights in this case.

10. Liquidation of the debtor's        The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's
    property and payment of            property. If the trustee can collect enough money, creditors may be paid some or all of the
    creditors' claims                  debts owed to them, in the order specified by the Bankruptcy Code. To ensure you receive
                                       any share of that money, you must file a proof of claim, as described above.

11. Debtor electronic                  The U.S. Bankruptcy Court for the District of Maryland offers all parties the ability to receive
    bankruptcy noticing                court notices and orders via email, instead of U.S. mail. To participate, debtors must
                                       complete and file a DeBN request form with the Court −− additional information is available
                                       under Programs & Services at http://www.mdb.uscourts.gov. Other parties (non−debtors)
                                       can register at ebn.uscourts.gov.




Official Form 309D (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set      page 2
